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4    Telephone: (916) 554-2772
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7
8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         ) No. 2:06-cr-00323-MCE
12              Plaintiff,               )
                                         ) STIPULATION AND ORDER
13         v.                            ) CONTINUING STATUS CONFERENCE
                                         ) AND EXCLUDING SPEEDY TRIAL TIME
14   JESUS DIAZ OLIVERA, et al.,         ) Date: June 26, 2008
                                         ) Time: 9:00 a.m.
15                                       ) Court: Hon. Morrison England
                Defendants.              )
16                                       )
                                         )
17
18         Whereas, the Court previously set June 26, 2008, at 9:00
19   a.m., as a status conference hearing date in this case;
20         Whereas, the undersigned prosecutor needs additional time to
21   prepare draft settlement documents in an effort to resolve the
22   cases against defendants Jesus Diaz Olivera, Jose Maria Gomez
23   Ortega, and Javier Villalobos Garcia;
24         Whereas, defense counsel for each defendant desires
25   additional time to review any proposed plea agreement with his
26   client with the assistance of a Spanish/English interpreter and
27   explain the provisions of the plea agreement to his client,
28   ///

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1         It is hereby stipulated by and between the United States and
2    defendants, through their respective counsel, that:
3         1.      The June 26, 2008, status hearing shall be continued to
4    July 3, 2008, at 9:00 a.m.;
5         2.      Time from the date of this stipulation to and including
6    July 3, 2008, shall be excluded from computation of time within
7    which the trial of this case must be commenced under the Speedy
8    Trial Act pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) (Local Code
9    T4) (preparation by government and defense counsel).
10   Dated:    June 23, 2008             McGREGOR W. SCOTT
                                         United States Attorney
11
                                         /s/ Samuel Wong
12                                 By:
                                         SAMUEL WONG
13                                       Assistant United States Attorney
14
                                         /s/ Steve Bauer
15   Dated:    June 23, 2008
                                         STEVE BAUER
16                                       Attorney for defendant
                                         Jesus Diaz Olivera
17                                       (per email authorization)
18
                                         /s/ Gilbert Roque
19   Dated:    June 23, 2008
                                         GILBERT ROQUE
20                                       Attorney for defendant
                                         Jose Maria Gomez Ortega
21                                       (per email authorization)
22
                                         /s/ Michael Bigelow
23   Dated:    June 23, 2008
                                         MICHAEL BIGELOW
24                                       Attorney for defendant
                                         Javier Villalobos Garcia
25                                       (per email authorization)
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1                                     ORDER
2
3         Based on the stipulation of the parties and good cause
4    appearing therefrom, the Court hereby finds that the failure to
5    grant a continuance in this case would deny both government and
6    defense counsel reasonable time necessary for effective
7    preparation, taking into account the exercise of due diligence.
8    The Court specifically finds that the ends of justice served by
9    the granting of such continuance outweigh the interests of the
10   public and the defendants in a speedy trial.
11        Based on these findings and pursuant to the stipulation of
12   the parties, the Court hereby adopts the stipulation of the
13   parties in its entirety as its order.
14        IT IS SO ORDERED.
15
     Dated: June 30, 2008
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17                                    _____________________________
18                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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